Case 2:20-cr-00139-JCZ-DMD Document1 Filed 12/04/20 Page 1of5

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

CRIMINAL NO. 20- 0 0 1 39

UNITED STATES OF AMERICA *

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* SECTION: SECT AMAG 3
VERSUS * e e

* VIOLATION: 26 U.S.C. § 7206(1)

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NICOLE E. BURDETT *

INDICTMENT
THE FEDERAL GRAND JURY CHARGES:
COUNT 1

MAKING AND SUBSCRIBING A FALSE
RETURN, STATEMENT OR OTHER DOCUMENT
[26 U.S.C. § 7206(1)]
On or about April 28, 2015, in the Eastern District of Louisiana, the Defendant, NICOLE
E. BURDETT, did willfully make and subscribe a Form 1040 U.S. Individual Income Tax Return
for tax year 2014, which was verified by written declaration that was made under the penalties of

perjury in which she did not believe to be true and correct as to every material matter. That Form

1040 U.S. Individual Income Tax Return, which was prepared in the Eastern District of Louisiana
Case 2:20-cr-00139-JCZ-DMD Document1 Filed 12/04/20 Page 2 of 5

and was filed with the Internal Revenue Service, said return was false and fraudulent as to
material matters, such as, the Defendant, NICOLE E. BURDETT, filed as Head of
Household, even though she was married at the time, and the tax return contained false and
fraudulent Schedule C business expenses exceeding $50,000.00, causing NICOLE E.
BURDETT to qualify for the Earned Income Tax Credit. All in violation of Title 26,
United States Code, Section 7206(1). [26 U.S.C. § 7206(1)].
COUNT 2
MAKING AND SUBSCRIBING A FALSE
RETURN, STATEMENT OR OTHER DOCUMENT
[26 U.S.C. § 7206(1)]

On or about April 26, 2016, in the Eastern District of Louisiana, the Defendant,
NICOLE FE. BURDETT, did willfully make and subscribe a Form 1040 U.S. Individual
Income Tax Return for tax year 2015, which was verified by written declaration that was
made under the penalties of perjury in which she did not believe to be true and correct as
to every material matter. That Form 1040 U.S. Individual Income Tax Return, which was
prepared in the Eastern District of Louisiana and was filed with the Internal Revenue
Service, said return was false and fraudulent as to material matters, such as, the Defendant,
NICOLE E. BURDETT, filed as Head of Household, even though she was married at the
time, and the tax return contained false and fraudulent Schedule C business expenses
exceeding $70,000.00, causing NICOLE E. BURDETT to qualify for the Earned Income
Tax Credit. All in violation of Title 26, United States Code, Section 7206(1). [26 U.S.C.

§ 7206(1)].
Case 2:20-cr-00139-JCZ-DMD Document1 Filed 12/04/20 Page 3 of 5

COUNT 3

MAKING AND SUBSCRIBING A FALSE
RETURN, STATEMENT OR OTHER DOCUMENT
[26 U.S.C. § 7206(1)]

 

On or about June 17, 2017, in the Eastern District of Louisiana, the Defendant,
NICOLE E. BURDETT, did willfully make and subscribe a Form 1040 U:S. Individual
Income Tax Return for tax year 2016, which was verified by written declaration that was
made under the penalties of perjury in which she did not believe to be true and correct as
to every material matter. That Form 1040 U.S. Individual Income Tax Return, which was
prepared in the Eastern District of Louisiana and was filed with the Internal Revenue
Service, said return was false and fraudulent as to material matters, such as, the Defendant,
NICOLE E. BURDETT, filed as Head of Household, even though she was married at the
time, and the tax return contained false and fraudulent Schedule C business expenses
exceeding $100,000.00, causing NICOLE E. BURDETT to qualify for the Earned Income
Tax Credit. All in violation of Title 26, United States Code, Section 7206(1). [26 U.S.C.
§ 7206(1)].

COUNT 4
MAKING AND SUBSCRIBING A FALSE
RETURN, STATEMENT OR OTHER DOCUMENT
[26 U.S.C. § 7206(1)]

On or about May 21, 2018, in the Eastern District of Louisiana, the Defendant,
NICOLE E. BURDETT, did willfully make and subscribe a Form 1040 U.S. Individual
Income Tax Return for tax year 2017, which was verified by written declaration that was
made under the penalties of perjury in which she did not believe to be true and correct as

to every material matter. That Form 1040 U.S. Individual Income Tax Return, which was
Case 2:20-cr-00139-JCZ-DMD Document1 Filed 12/04/20 Page 4 of 5

prepared in the Eastern District of Louisiana and was filed with the Internal Revenue
Service, said return was false and fraudulent as to material matters, such as, the Defendant,
NICOLE E. BURDETT, filed as Head of Household, even though she was married at the
time, and the tax return contained false and fraudulent Schedule C business expenses
exceeding $60,000.00, causing NICOLE E. BURDETT to qualify for the Earned Income
Tax Credit. All in violation of Title 26, United States Code, Section 7206(1). [26 U.S.C.

§ 7206(1)].

A TRUE BILL:

 

WILLIAM P. BARR
United States Attorney General

ALEXANDER C. VAN HOOK
Acting United States Attorney
Western District of Louisiana

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New Orleans
December 4, 2020
Case 2:20-cr-00139-JCZ-DMD Document1 Filed 12/04/20 Page 5 of 5

 

 
  

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